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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )   No. 4:10CR36 HEA
                                              )
STACEY CHANELL CLAYTON,                       )
                                              )
       Defendant.                             )

                                           ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Monday, May 24, 2010, at 10:30 a.m. in the courtroom of the undersigned.

       Dated this 19th day of May, 2010.




                                           ________________________________
                                              HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE
